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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION-COLUMBUS

DAVID GREGG                                 )
60201 Christian Hill Road                   )
Cambridge, OH 43725                         )
                                            )
       Plaintiff,                           )       No.2:14-cv-219
                                            )
      vs.                                   )
GC SERVICES, LP                             )       VERIFIED CIVIL COMPLAINT
6330 Gulfton St                             )
Houston, Texas 77081                        )       (Unlawful Debt Collection Practices)
                                            )
       Defendant.                           )

       DAVID GREGG (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP (Defendant):

   1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. 1692 et seq. (FDCPA).

                               JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

       supplemental jurisdiction over the state claims contained therein.

   3. Defendant conducts business in the State of Ohio, and therefore, personal jurisdiction is

       established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
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                                         PARTIES

 5. Plaintiff is a natural person residing in Cambridge, Guernsey County, Ohio.

 6. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 7. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and sought to

    collect a consumer debt from Plaintiff.

 8. Defendant is a debt collection company with its headquarters in Houston, Texas.

 9. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                               FACTUAL ALLEGATIONS

 10. Defendant is attempting to collect a debt allegedly owed by Plaintiff to United Student

    Aid Funds (“USAF”).

 11. Plaintiff does not owe the debt Defendant is attempting to collect.

 12. Defendant sent Plaintiff a letter dated December 6, 2013 in an attempt to collect the

    alleged debt.

 13. Upon receiving Defendant’s letter on December 12, 2013, Plaintiff placed a call to

    Defendant at 800-753-8354 at 6:38pm Eastern Time, and spoke to Defendant’s

    representative, “Paula.”

 14. In the telephone conversation on December 12, 2013, Plaintiff referenced account

    number 755658, verified with Defendant’s representative that he was not the individual

    Defendant was attempting to contact, and requested that Defendant cease mailing

    correspondence.
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   15. Despite informing Defendant on December 12, 2013 that he did not owe the owe the

       alleged debt and was not the individual Defendant was attempting to contact, and

       requesting Defendant cease communications, Defendant mailed a letter dated January 7,

       2014 in an attempt to collect the alleged debt. See Letter from Defendant dated January

       7, 2014, attached hereto as Exhibit A.


                             COUNT I
   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                   (FDCPA), 15 U.S.C. § 1692 et seq.


   16. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692f of the FDCPA by using unfair or unconscionable

              means in attempting to collect any debt.

          b. Defendant violated §1692f(1) of the FDCPA by attempting to collect an amount

              which Plaintiff did not expressly authorized in the agreement creating the debt.

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

   17. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k,

   18. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k, and

   19. Any other relief that this Honorable Court deems appropriate.
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                                   RESPECTFULLY SUBMITTED,


                                   By: /s/ David Tannehill
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